          Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 1 of 26



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



 United States of America,

         V.                                                Case No. 1:19-cr-0449
                                                           Hon. Liam O'Grady
 Kenneth Wendell Ravenell,
 Joshua Reinhardt Treem,and                                FILED UNDER SEAL
 Sean Francis Gordon,

                        Defendants.


                           MEMORANDUM OPINION & ORDER


        This matter comes before the Court on the following pretrial motions filed by Defendants

Kenneth Ravenell, Joshua Treem, and Sean Gordon in the above-captioned criminal matter:

                                   Motion                                       Docket Entry
 Motion for Entry of Order Pursuant to the Due Process Protections Act and
 Federal Rule of Criminal Procedure 5(f)                                             176
 Motion to Dismiss Counts 4 and 5 for Failure to Allege an Adequate Nexus            181

 Motion to Strike Paragraphs 1, 13-15 of Count 4 as Surplusage, or
 Alternatively to Dismiss Count 4 as Duplicitous                                     182
 Motion to Dismiss Count 7 or Strike Count 4, Paragraphs 106(a)and (b)as
 Surplusage                                                                          183
 Motion to Disclose the Government's Presentation ofthe Law to the Grand
 Jury                                                                                184
 Motion for Disclosure of Juror Lists and Qualification Questionnaires               187
 Joshua Treem's Motion to Exclude Privileged Evidence                                245
 Motion for Evidentiary Hearing                                                      297
 Motion for Disclosure ofthe Government's Presentation of Law to the
 Grand Jury for Prosecutorial Misconduct                                             311
 Status ofIssues Raised in Defendants' Motion to Compel                              345


For the following reasons. Defendants' Motions are GRANTED IN PART and DENIED IN

PART.
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 2 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 3 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 4 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 5 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 6 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 7 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 8 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 9 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 10 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 11 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 12 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 13 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 14 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 15 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 16 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 17 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 18 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 19 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 20 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 21 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 22 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 23 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 24 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 25 of 26
Case 1:19-cr-00449-LO Document 361 Filed 10/22/21 Page 26 of 26
